Case 8:14-cr-00416-JSM-MAP Document 76 Filed 08/03/17 Page 1 of 8 PageID 465




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


KAVIN CARTER,

       Movant,

v.                                                      Case No: 8:17-cv-1696-T-30MAP
                                                          Crim. Case No. 8:14-cr-416-T-30MAP

UNITED STATES OF AMERICA,

       Respondent.


                                         ORDER

       Movant pleaded guilty to sex trafficking of a minor, an offense which carries a

mandatory minimum sentence of 10 years. 18 U.S.C. § 1591(b)(2). The Court accepted the

plea and sentenced Movant to 192 months in prison. Now Movant asks the Court to vacate

his sentence arguing he received ineffective assistance of counsel because he was

sentenced to a mandatory minimum sentence of 15 years. Movant also claims he did not

enter his guilty plea knowingly and willingly. Because Movant’s claims are refuted from

the record, the Court concludes the Motion should be denied.

                                    BACKGROUND

       In 2014, the Government filed an information against Movant charging him with

one count of sex trafficking of a minor in violation of 18 U.S.C. §§ 1591(a)(1), (a)(2), and

(b)(2). (CR Doc. 1). Movant waived indictment and entered a guilty plea. (CR Docs. 2, 7,
Case 8:14-cr-00416-JSM-MAP Document 76 Filed 08/03/17 Page 2 of 8 PageID 466




13, 20, and 71). The plea agreement noted that Movant’s offense carried a mandatory

minimum sentence of 10 years with a maximum sentence of life. (CR Doc. 7, § A.2.).

       Prior to sentencing, the Probation Office provided a presentence investigation report

(“PSI”) to the Court. (CR Doc. 52). The PSI also noted Movant’s offense carried a

mandatory minimum sentence of 10 years and a maximum sentence of life. (CR Doc. 52,

¶ 148). The PSI also calculated a Sentencing Guidelines range of 292 to 365 months in

prison based on his total offense level and criminal history category. (CR Doc. 52, ¶ 149).

The PSI concluded with a response from Movant’s Counsel, stating:

       “Mr. Carter expects to ask for a sentence well below the advisory guidelines
       at or around the 10-year mandatory minimum based in large part on a
       variance argument pursuant to 18 U.S.C. §3553(a). He will be filing a
       sentencing memorandum to address this argument at a later date. Therefore,
       he reserves the right to argue the mitigating factors at 18 U.S.C. §3553(a) at
       the final hearing, which include but are not limited to Carter’s actual offense
       conduct in this case (as opposed to co-conspirator Gallon) and his extremely
       low likelihood of recidivism. Mr. Carter looks forward to presenting Dr.
       Kline’s expert opinion in furtherance of a reasonable sentence (attached to
       defendant’s objections). While Mr. Carter hereby agrees that the guidelines
       are correctly calculated in the Report, Mr. Carter’s request for a reasonable
       sentence will discuss Gallon’s actual offense conduct (undue influence, sex
       acts and sexual contacts, and exploitation of vulnerabilities of the minors) as
       opposed to Carter’s direct involvement with these same girls. In this
       conspiracy, a reasonable sentence for Mr. Carter is far less than what the
       guidelines calculate it to be when taking into account the goals of
       sentencing.”

(CR Doc. 52, ¶ 162).

       Shortly after the PSI was provided, Movant’s Counsel filed a Sentencing

Memorandum and Motion for Downward Variance. (CR Doc. 54). The Sentencing

Memorandum acknowledges that the PSI correctly calculated the bottom of Movant’s




                                             2
Case 8:14-cr-00416-JSM-MAP Document 76 Filed 08/03/17 Page 3 of 8 PageID 467




Sentencing Guideline range at 292 months’ imprisonment (CR Doc. 54, ¶ 4), but asked the

Court to depart and sentence Movant to the 10-year mandatory minimum sentence.

       The Court sentenced Movant on October 19, 2015. At the sentencing hearing, the

Court asked Movant if he had a chance to read and discuss the PSI and if he agreed with

the facts contained in it, to which Movant responded, “Yes, sir.” (CR Doc. 69, p. 4).

Movant’s Counsel then moved the Court for the departure sentence of 10 years’

imprisonment and called an expert witness to testify about whether Movant was a risk to

commit sex crimes in the future. (CR Doc. 69). The Government also moved for a

substantial assistance departure of one offense level. After considering both motions for

departure, the Court sentenced Movant to 192 months’ imprisonment. (CR Doc. 58, 69).

       Movant then appealed his conviction and sentence. (CR Doc. 60). The appeal was

dismissed on November 22, 2016, based on the appeal waiver in Movant’s plea agreement,

which the Eleventh Circuit concluded was made knowingly and voluntarily. (CR Doc. 74).

                        MOVANT’S GROUNDS FOR RELIEF

       In his Motion, Movant raises three grounds for relief. His first argument is that his

Counsel provided ineffective assistance because she failed to familiarize herself with the

case prior to advising Movant to plead guilty. Specifically, Movant alleges the plea

agreement contained conflicting facts that Counsel did not challenge. (CV Doc. 1, p. 4).

Movant then alleges Counsel did not file a single motion in the case. (CV Doc. 1, p. 5).

Movant also alleges had his Counsel investigated the case and made him more aware of

the facts, he would have insisted on proceeding to trial. (CV Doc. 1, p. 5).




                                             3
Case 8:14-cr-00416-JSM-MAP Document 76 Filed 08/03/17 Page 4 of 8 PageID 468




      In his second ground, Movant argues Counsel failed to provide effective assistance

during a critical stage of the criminal proceedings. (CV Doc. 1, p. 7). Movant argues that

the Government erroneously listed his offense as having a 10-year mandatory minimum

sentence, even though the allegations supported a conviction under the statute carrying a

15-year mandatory minimum sentence. (CV Doc. 1, p. 7). Because of this error, Movant

alleges he had no way of entering a plea agreement knowingly and willingly, and that he

had a right to appeal based on this fact—which implicates his trial counsel. (CV Doc. 1, p.

8).

       Lastly, Movant argues that his plea was entered unknowingly and unwillingly

because he was advised that his offense carried a 10-year mandatory minimum sentence

when it actually carried a 15-year mandatory minimum sentence.

                                       DISCUSSION

I. Standard of Review

       Ineffective-assistance-of-counsel claims are cognizable under § 2255. Lynn v.

United States, 365 F.3d 1225, 1234 n.17 (11th Cir. 2004). In Strickland v. Washington, 466

U.S. 668 (1984), the Supreme Court set forth a two-part test for analyzing ineffective-

assistance-of-counsel claims:

       First, the defendant must show that counsel’s performance was deficient.
       This requires showing that counsel made errors so serious that counsel was
       not functioning as the “counsel” guaranteed the defendant by the Sixth
       Amendment. Second, the defendant must show that the deficient
       performance prejudiced the defense. This requires showing that counsel’s
       errors were so serious as to deprive the defendant of a fair trial, a trial whose
       result is reliable.




                                              4
Case 8:14-cr-00416-JSM-MAP Document 76 Filed 08/03/17 Page 5 of 8 PageID 469




Strickland, 466 U.S. at 687. Strickland requires proof of both deficient performance and

consequent prejudice. Id. at 697 (“[T]here is no reason for a court deciding an ineffective

assistance claim . . . to address both components of the inquiry if the defendant makes an

insufficient showing on one.”); Sims v. Singletary, 155 F.3d 1297, 1305 (11th Cir. 1998)

(“When applying Strickland, we are free to dispose of ineffectiveness claims on either of

its two grounds.”). “There is a strong presumption that counsel’s performance falls within

the ‘wide range of professional assistance’[;] the defendant bears the burden of proving

that counsel's representation was unreasonable under prevailing professional norms and

that the challenged action was not sound strategy.” Kimmelman v. Morrison, 477 U.S. 365,

381, 106 S.Ct. 2574, 2586, 91 L.Ed.2d 305 (1986) (quoting Strickland, 466 U.S. at 689,

104 S.Ct. at 2065). “[S]trategic choices made after thorough investigation of law and facts

relevant to plausible options are virtually unchallengeable.” Strickland, 466 U.S. at 690,

104 S.Ct. at 2066. “[A] court deciding an actual ineffectiveness claim must judge the

reasonableness of counsel’s challenged conduct on the facts of the particular case, viewed

as of the time of counsel’s conduct.” Id.

       Thus, Petitioner must demonstrate that counsel’s error prejudiced the defense

because “[a]n error by counsel, even if professionally unreasonable, does not warrant

setting aside the judgment of a criminal proceeding if the error had no effect on the

judgment.” Id. at 691–92. To meet this burden, Petitioner must show “a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would

have been different. A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Id. at 694.


                                             5
Case 8:14-cr-00416-JSM-MAP Document 76 Filed 08/03/17 Page 6 of 8 PageID 470




II. Analysis

      The Court concludes the Motion should be denied because Movant’s Counsel was

not deficient and Movant was not prejudiced. Before addressing the specific grounds raised

by Movant, the Court notes that Movant appears to be confused about his offense and

sentence, and thinks this somehow means his counsel did something wrong. So first the

Court will explain Movant’s sentence in hopes of resolving the confusion.

      Counsel (and the Government and the magistrate judge and this Court) all informed

Movant that his offense carried a 10-year mandatory minimum sentence, which it does.

Based on his offense and criminal history, the Sentencing Guidelines range for Movant’s

sentence was 292 to 365 months. So though the offense carried a minimum sentence of 10

years, his guidelines sentencing range began at more than 24 years. The Court sentenced

Movant to 192 months (16 years) after considering his Counsel’s motion for a departure.

      Contrary to his Motion, Movant was not sentenced under 18 U.S.C. § 1591(b)(1),

which carries a 15-year mandatory minimum sentence. Even if Movant is correct that the

allegations in the plea agreement and PSI would have supported a harsher sentence under

§ 1591(b)(1) (as opposed to § 1591(b)(2) under which he was sentenced), at no time was

Movant’s sentence based on § 1591(b)(1).

      With that explanation, the Court turns to Movant’s grounds for relief. The record

refutes Movant’s claims that Counsel was deficient. Counsel properly advised Movant of

his potential sentence, there were no conflicting facts in the plea agreement or PSI, and

Counsel successfully argued that the Court should downwardly depart from the Sentencing




                                            6
Case 8:14-cr-00416-JSM-MAP Document 76 Filed 08/03/17 Page 7 of 8 PageID 471




Guidelines. In fact, Counsel’s efforts helped lower Movant’s sentence from a

recommended 24 years to only 16 years. So the Court concludes counsel was not deficient.

       The Court also concludes Movant cannot demonstrate prejudice. As explained

above, Movant seemed to be confused about his sentence. At best, his Motion argues that

he should have received a harsher punishment based on his actions—that is not prejudice.

       Finally, the Court concludes it cannot consider Movant’s third claim that his plea

was unknowing and involuntary because of the law of the case. The Eleventh Circuit

dismissed Movant’s appeal based on the waiver in his plea agreement. That is only

permissible if the Eleventh Circuit concludes the waiver was made knowingly and

voluntarily. United States v. Bushert, 997 F.2d 1343, 1350–51 (11th Cir. 1993). Because

the Eleventh Circuit has already concluded Movant entered into the plea agreement

knowingly and voluntarily, that issue has become law of the case, and this Court cannot

revisit that finding in this post-conviction proceeding. See e.g. United States v. White, 846

F.2d 678, 685 (11th Cir. 1988); United States v. Lynn, 385 F. App'x 962, 965 (11th Cir.

2010). 1

       Accordingly, it is ORDERED AND ADJUDGED that:

       1.     The Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

              Sentence (CV Doc. 1) is DENIED.

       2.     All pending motions are dismissed as moot.


       1
        Even if the Court could consider this issue, the Court would conclude Movant’s plea was
made knowingly and voluntarily. Nazario v. Sec'y, Florida Dep't of Corr., No. 3:13-CV-786-J-
34JRK, 2016 WL 1732628 (M.D. Fla. May 2, 2016).



                                              7
Case 8:14-cr-00416-JSM-MAP Document 76 Filed 08/03/17 Page 8 of 8 PageID 472




      3.     The Clerk is directed to close this case.

      4.     The Clerk is directed to terminate from pending status the motion found at

             Doc. 75 in the underlying criminal case, 8:14-cr-416-T-30MAP.

      DONE and ORDERED in Tampa, Florida, this 3rd day of August, 2017.




Copies furnished to:
Counsel/Parties of Record




                                            8
